 Case 5:21-cv-05061-KES Document 61 Filed 08/09/22 Page 1 of 2 PageID #: 546




                      UNITED STATE DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           WESTERN DIVISION


 MINNESOTA OFFICE PLAZA LLC, A
 MINNESOTA LIMITED LIABILITY                        21-cv-05061-KES
 COMPANY,
                                          BLACK HILLS COMMUNITY BANK’S
                      Plaintiff,           ACQUIESCENCE TO PLAINTIFF’S
    vs.                                    REQUESTED RELIEF ON MOTION
                                               TO QUASH SUBPOENA
 DLORAH, INC., A SOUTH DAKOTA
 CORPORATION d/b/a NATIONAL
 AMERICAN UNIVERSITY; PARK
 WEST, LLC, A SOUTH DAKOTA
 LIMITED LIABILITY COMPANY;
 RONALD SHAPE; AND ROBERT
 BUCKINGHAM AS TRUSTEE OF THE
 ROBERT D. BUCKINGHAM LIVING
 TRUST; and BLACK HILLS
 COMMUNITY BANK, N.A.,

                     Defendants.



      COMES NOW Black Hills Community Bank, N.A., by and through its

undersigned attorneys of record, and acquiesces to the Court entering an Order,

denying as moot, its previously filed Motion to Quash Subpoena. This request is

being made due to the fact that while said Motion was pending, the Court granted

Plaintiff’s Motion to Amend its Complaint, making Black Hills Community Bank

a party, and counsel for the respective parties have agreed that the information

requested thorough use of a subpoena will be provided through normal discovery

channels.
 Case 5:21-cv-05061-KES Document 61 Filed 08/09/22 Page 2 of 2 PageID #: 547




     Respectfully submitted this 9th day of August, 2022.

                                      CLAYBORNE, LOOS & SABERS, LLP


                                      /s/ Courtney R. Clayborne__________
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                        CERTIFICATE OF SERVICE

     I hereby certify that on August 9th, 2022, I sent to:

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by Notice of Electronic Filing generated by the CM/ECF system, a true and
correct copy of Black Hills Community Bank’s Acquiescence to Plaintiff’s
Requested Relief on Motion to Quash Subpoena relative to the above-entitled
matter.


                                           /s/Courtney R. Clayborne__________
                                           COURTNEY R. CLAYBORNE
